               Case 1:21-cv-03620-GBD Document 21 Filed 06/01/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
Chul Kyu Kim, on behalf of himself and others sim
                                      Plaintiff(s),

                                                                        21               3620      GBD
                                                                                  Civ.            (  )
                      - against -
                                                                       CLERK'S CERTIFICATE
Superior Cafe Corp., 1490 Superior Foods Corp., R                          OF DEFAULT

                                    Defendant(s),
-------------------------------------------------------------X

                     I, RUBY J. KRAJICK, Clerk of the United States District Court for

the Southern District of New York, do hereby certify that this action was commenced on
4/23/2021
                        with the filing of a summons and complaint, a copy of the summons and
                                                      Superior Cafe Corp., 1490 Superior Foods Corp., and R
complaint was served on defendant(s)
                             Chul Park & Sue Zouky
by personally serving                                                                                       ,
                                                          5/4/2021 and 5/13/2                 17-19
and proof of service was therefore filed on                                     , Doc. #(s)                 .

I further certify that the docket entries indicate that the defendant(s) has not filed an

answer or otherwise moved with respect to the complaint herein. The default of the

defendant(s) is/are hereby noted.

Dated: New York, New York

                            , 20                                       RUBY J. KRAJICK
                                                                         Clerk of Court


                                                                 By: _________________________
                                                                           Deputy Clerk




SDNY Web 
